                                   STATEMENT OF FACTS

        Your affiant,                    , is a Special Agent assigned to Federal Bureau of
Investigation’s (FBI) Jackson Field Office. In my duties as a Special Agent, I investigate a variety
of federal crimes. Currently, I am a tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
        FBI began investigating unidentified individuals for alleged violations of 18 U.S.C. § 111
(assaulting, resisting, or impeding certain officers or employees) that occurred at or around 4:20
p.m. on January 6, 2021, on the Upper West Terrace of the U.S. Capitol grounds.
        At or around 4:00 p.m., a crowd assembled at the U.S. Capitol on the Upper West Terrace.
U.S. Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and Prince George’s
County Police Department (“PG County”) responded to the Upper West Terrace to act as a barrier
against the crowd. While law enforcement officers were attempting to control the crowd at the
Upper West Terrace, numerous individuals began charging and striking law enforcement officers.
        After reviewing body-worn camera (“BWC”) as well as an open-source video from Parler
recorded on January 6, 2021, at the U.S. Capitol, your Affiant observed an unidentified individual,
later identified as Michael Leon Brock (“BROCK”), assaulting multiple law enforcement officers
and impeding law enforcement officers from performing official duties. FBI has positively
identified two of the law enforcement officers, MPD Officers P.D. and J.H., assaulted by BROCK.
        While reviewing BWC recorded at or around 4:22 p.m. near the Upper West Terrace, your
Affiant observed BROCK, while holding what appears to be a four-foot-long rod, charging law
enforcement officers, including MPD Officers P.D. and J.H. The law enforcement officers were
attempting to control the crowd at or near the Upper West Terrace. A few seconds later in the
BWC recordings, your Affiant observed BROCK repeatedly push and strike MPD Officers P.D.
and J.H. with the four-foot-long rod. BROCK’s actions caused MPD Officers P.D. and J.H. to
disperse and impeded MPD Officers P.D. and J.H., as well as other unidentified law enforcement
officers, from performing official duties.
        FBI SAs conducted a telephonic interview of MPD Officer J.H. on or about July 12, 2021.
The following is intended to be a summary of the interview and is not a verbatim account. MPD
Officer J.H. stated he/she was struck in the left arm by the individual, later identified as BROCK.
MPD Officer J.H. stated that the individual, later identified as BROCK, was attempting to strike
officers with what appeared to be a rod.
        Figure One is a picture taken from MPD Officer J.H.’s BWC at or around 4:22 p.m. on
January 6, 2021, near the Upper West Terrace. In Figure One, BROCK is wearing a green hoodie
and is circled in yellow. In the BWC, your Affiant observed BROCK using what appears to be a
four-foot-long rod to push law enforcement officers.




                                           Figure One
        Figure Two is a picture taken from MPD J.H.’s BWC at or around 4:22 p.m. on January
6,2021, near the Upper West Terrace. MPD Officer J.H.’s BWC captures BROCK striking MPD
Officer P.D. with what appears to be a four-foot-long rod. BROCK is wearing a green hoodie with
blue jeans and is circled in yellow.




                                         Figure Two

        Figure Three and Figure Four are pictures taken from an open-source video posted to
Parler. BROCK is wearing a green hoodie and is circled in yellow. In the video, your Affiant
observed BROCK using what appears to be a four-foot rod to hit and push MPD Officer P.D.




                                         Figure Three
                                            Figure Four

        On June 16, 2021, a confidential witness (“CW-1”) submitted an online tip to FBI. CW-1
reported that he/she saw FBI “BOLO AFO-319” and that the unidentified individual FBI referred
to in the BOLO as “AFO-319” is an individual named Mike BROCK who lives in Mississippi.
        On July 9, 2021, your Affiant conducted an in-person interview with CW-1. The following
is intended to be a summary of the interview and is not a verbatim account. During the interview,
CW-1 reviewed Figures One, Two, Three, and Four. After reviewing the figures, CW-1 positively
identified BROCK to be the individual circled in yellow. CW-1 confirmed that BROCK is the
same person as FBI referred to as “AFO-319.” CW-1 also stated that he/she has known BROCK
for approximately 20 years.
        On July 11, 2021, your Affiant conducted an in-person interview of a second confidential
witness (“CW-2”) who has known BROCK for approximately 2 years. The following is intended
to be a summary of the interview and is not a verbatim account. During the interview, your Affiant
presented CW-2 with Figures One, Two, Three, and Four. After reviewing the figures, CW-2
positively identified BROCK to be the individual circled in yellow.
       According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with BROCK,
              , utilized a cell site consistent with providing services to a geographic area that
included the interior of the United States Capitol Building.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
BROCK violated 18 U.S.C. §§ 111(a) and (b), which makes it a crime to, assault, resist, oppose,
impede, intimidate, or interfere a Federal law enforcement officer, as designated in Section 1114
of Title 18, while engaged in or on account of the performance of official duties, or on account of
those duties. Section 1114 specifically lists USCP officers as Federal law enforcement officers.
This definition under Section 1114 is further extended to any person assisting such a federal officer
or employee in the performance of his or her duties or on account of that assistance. USCP officers
are Federal law enforcement officers, and MPD officers were assisting them in protecting the
Capitol and the Members of Congress on January 6, 2021.
        Your Affiant submits there is also probable cause to believe that BROCK violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his or her official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.


        Your Affiant submits there is also probable cause to believe that BROCK violated 40
U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.

       The information contained in this affidavit is based on my knowledge of the investigation
and information provided by other law enforcement officers. Because this statement of facts is
being submitted for the limited purpose of establishing facts sufficient for the charges in the
complaint, I have not included each and every fact known to me concerning this investigation.




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                                                      Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1. by
telephone, this 14th day of July, 2021.



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                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
